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               EXHIBIT D
            Mesiti Declaration
         U.S. Patent No. 5,575,446
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                                                                                 III               US005575446A      IIII
United States Patent (19)                                                             11 Patent Number:                    5,575,446
Swenson et al.                                                                        45 Date of Patent:                 Nov. 19, 1996
54) CLAMPNG DEVICE FOR SECURING                                                                  OTHER PUBLICATIONS
         CHRISTMASTREE LIGHT WIRES AND/OR
         DECORATIONS TO CHRISTMASTREES                                           Instructions from package back for Lites Up Gutter Hook
                                                                                 made by Gary Products Group, Lubbock, Texas. (no date
(75) Inventors: Barbara Swenson, P.O. Box 680096,                                Supplied).
               Park City, Utah 84068; D. Scott                                   Instructions from package back for Lites Up Ornament
               Beckham, Summit County, Utah                                      Hanger made by Gary Products Group, Lubbock, Texas (no
                                                                                 date Supplied).
(73) Assignee: Barbara Swenson, Sandy, Utah
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21       Appl. No.: 371,266                                                      Assistant Examiner Michael J. Turgeon
                                                                                 Attorney, Agent, or Firm-Mallinckrodt & Mallinckrodt
22       Filed:       Dec. 23, 1994
                                                                                 57                     ABSTRACT
51       Int. Cl." ...................................... F16B 45/00
52       U.S. Cl. ........................... 248/304; 248/306; 248/340          A device for clamping the wires of a string of decorative
58)      Field of Search ..................................... 248/304,303,      lights to Christmas tree branches is formed of a wholly
                                                            248/306, 340
                                                                                 integral length of flexible, but normally shape-retaining
                                                                                 material doubled back on itself from opposite ends thereof
(56)                        References Cited                                     at opposite sides of a diagonally oriented, substantially
                                                                                 central part of the length of material to provide oppositely
                   U.S. PATENT DOCUMENTS                                         directed, open loop clamping portions whose openings are at
       3,277,291 10/1966 Holbrook .................................. 24.0/10
                                                                                 respective opposite sides of but at the central part of the
       3,488,025 1/1970 Rowland .....                         ... 248,304        length of material. The flexible material is such that an
       3,582,641 6/1971 Choquette ................................. 24.0/10      opening to an open loop can expand to accept branches to be
       3,870,206 3/1975 Feinberg .....                       ... 248/340         received and held in a clamping loop along with light string
       3,977,050 8/1976 Perez ......................................... 24/50    wires and can be rotated to open the opening when release
       4,209,945 7/1980 Dent et al. ......                           ... 47/84   of a branch is desired. A loop of the device is selected for
       4,285,072 8/1981 Morcher et al. .............................. 3/3        clamping to a branch leaving the other loop to serve as a
       4,775,310 10/1988 Fischer ............                     ... 425/308    handle for manipulating the device and thereafter free for
       4,887,785 12/1989 Blaich ..................................... 248,304    receiving a Christmas tree decoration.
       4,966,344 10/1990 Gary ........................................ 248,317
       4,979,714 12/1990 Russell et al. .                   ... 248/303
       5,103,380 4/1992 Lindner et al. ........................... 362/32                      15 Claims, 2 Drawing Sheets

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                                FIG. 2
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    FIG.3                     als
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                              1.                                                                   2
      CLAMPING DEVICE FOR SECURING                                  clamping portions. These open loop clamping portions
    CHRISTMASTREE LIGHT WIRES AND/OR                                include arcuate portions which extend through at least
     DECORATIONS TO CHRISTMASTREES                                  approximately 270° from the ends of the central portion to
                                                                    double back on the central portion and the arcuate portions
          BACKGROUND OF THE INVENTION                            5 flow into relatively short straight portions which extend,
   1. Field                                                         preferably substantially parallel to the straight central por
                                                                    tion and preferably spaced somewhat from the central por
   The invention is in the field of securing Christmas tree         tion, to provide openings leading into substantially circular
lights, garlands, and ornaments to a Christmas tree.                areas formed by the arcuate portions. The relatively short
   2. State of the Art                                           10 straight portions terminate in end portions which extend at
   Current practice in decorating Christmas trees is generally      angles outwardly from the central portion to act as guides to
to drape the wires which connect Christmas tree light               the openings between the relatively short portions and the
sockets with lightbulbs therein from branch to branch of the        central portion. The transitions between the relatively short
tree to spread the lights around the tree. Generally the wires      straight portion and the end portion are preferably of a
are not secured to the tree branches. In many instances this 15 relatively large radius compared to the radius of the transi
means that the wires can slip from the branches, and in some        tions between the arcuate portions and the relatively short
instances, it is difficult to extend the lights in a desired        straight portions. This makes it easier to slide the device onto
fashion between relatively widely spaced branches. With             a branch than to slide it off of a branch.
some light sets, loops in the wire at each light socket are
provided with a slide bead over the wires so the loop can be 20                           THE DRAWINGS
placed about the end of a branch and the slide bead moved
to close the loop around the branch to secure the light                The best mode presently contemplated for carrying out
sockets to desired branches. Other light sockets are provided       the invention is illustrated in the accompanying drawings, in
with clips of some type to enable the light socket to be            which:
clipped to a Christmas tree branch. However, the loops and 25 FIG. 1 is a side elevation of a device of the invention;
clips generally are provided with relatively large light sock          FIG. 2, a perspective view of the device being applied to
ets, and the miniature light sets which have become popular         a Christmas tree branch and decorative light set wire to hold
generally do not include any means for securing a light             the wire in position on the branch;
socket to a branch. For some currently available light sets            FIG. 3, a perspective view similar to that of FIG. 2,
where an upright orientation of the light is important, such 30 showing       the device installed on the branch;
as lights which simulate candles, the light socket has a               FIG.  4, a perspective view similar to that of FIG. 2, but
hand-operated spring clip on the bottom of the light socket
so the light socket can be clipped to a branch in an upright        showing the device twisted as it is prepared for removal
position.                                                           from the branch; and
   Similarly to strings of lights, tinsel garlands are generally 35    FIG. 5, a perspective view similar to that of FIG. 2, but
                                                                    show the device as removed from the branch.
draped from branch to branch with no means of securing the
garland to a branch to hold it from sliding off.
                                                                               DETAILED DESCRIPTION OF THE
            SUMMARY OF THE INVENTION                                             LLUSTRATED EMBODIMENTS
                                                                40
   According to the invention, a device for clamping the            Referring to FIG. 1, the clip or clamping device of the
wires of a string of decorative lights to Christmas tree         invention is formed of a length of flexible, but normally
branches is formed of a wholly integral length of flexible,      shape-retaining, material that is doubled back on itself from
but normally shape-retaining material, that is doubled back      opposite ends thereof at opposite sides of a diagonally
on itself from opposite ends thereof at opposite sides of a 45 oriented, substantially central part orportion 10 of the length
diagonally oriented, substantially central part of the length    to provide oppositely directed, open loop clamping portions
of material to provide oppositely directed, open loop clamp      11 and 12, which open at passage 13 and 14, respectively, at
ing portions whose openings are at respective opposite sides     respective opposite sides of central portion 10. Both open
of but at the central part of the length of material. The        loop clamping portions 11 and 12 open along central portion
clamping loops are generally of different sizes and either of 50 10.
the clamping loops may be selected for clamping a wire of           The central portion 10 is elongate and substantially
a string of Christmas tree lights to a limb or branch of a       straight. At each end of the straight central portion 10 is an
Christmas tree. Selection is generally based on the size of      arcuate portion wherein the clip doubles back on itself to
the branch to which the device is applied. The other loop        form the open loop elements at each end extending from the
provides a handle for manipulating the device and, when in 55 central portion 10 in opposite directions. Thus, arcuate
place on a branch, is free for receiving a Christmas tree        portion 15 extends from one end of straight central portion
ornament or other decoration, if desired. Such other loop        10, through at least approximately 270° to a relatively short
could, if desired, receive the wire of the decorative light set  straight portion 16, which preferably is substantially parallel
or could receive a loop of a second device of the invention      to straight central portion 10, which extends from arcuate
if additional length is required. The flexible material from 60 portion 15 toward the opposite end of central portion 10. The
which the device is made allows entry of a tree branch into      relatively short straight portion 16 smoothly joins an end
a clamping loop and allows the device to be twisted so that,     portion 17 which extends at an angle outwardly away from
when desired, a loop thereof can be easily twisted and           the central portion 10. Arcuate portion 18 extends from the
removed from a branch.                                           opposite end of straight central portion 10, through at least
   The diagonally oriented, substantially central part of the 65 approximately 270° to a relatively short straight portion 19,
length of material forms a substantially straight central        again which is preferably substantially parallel to straight
portion from the ends of which extend the open loop              central portion 10, which extends toward the one end of
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central portion 10. Relatively short straight portion 19         requirement. With such length, the width of the device will
smoothly joins an end portion 20 which extends at an angle       be about five-eighths inch. The arcuate portion 15 of the
outwardly away from the central portion 10. Arcuate por          larger open loop portion 11 has a radius of about 0.187 inch
tions 15 and 18 extend from central portion 10 in opposite       and the arcuate portion 18 of the smaller open loop portion
directions as do end portions 17 and 20. While the relatively    12 has a radius of about 0.125 inch. The radius of the
short straight portions 16 and 19 could be immediately           transition 23 from the end portion 17 to the relatively short
adjacent central portion 10, it is preferred that they be spaced straight portion 16 is about 0.125 inch while the radius of the
a short distance from central portion 10 to form the openings    transition 24 from the arcuate portion 15 to the relatively
or passages 13 between central portion 10 and relatively         short straight portion 16 is about 0.063 inch. The device is
short straight portion 16, and passage 14 between central 10 made of a length of polypropylene of rectangular cross
portion 10 and relatively short straight portion 19. Passage          section with a thickness of about 0.09 inch and a width of
13 leads to a substantially circular area 21 formed by arcuate        about 0.125 inch. Larger passage 13 is about 0.09 inch in
portion 15 and passage 14 leads to substantially circular area    width, about the same size as the thickness of the material
22 formed by arcuate portion 18.                                  from which the device is made, and the smaller passage 14
   It is important for operation of the device that it be made    is about two-thirds the size of the larger passage at about
of a flexible material which is normally shape-retaining 15 0.06 inch. The lengths of the two relatively short straight
which will allow flexing of the open loop portions 11 or 12       portions 16 and 19 are equal and are about 0.09 inches, equal
to accept and receive branches of a Christmas tree therein.       to the width of the larger passage 13. End portions 17 and 20
Thus, the arcuate portions 15 or 18 will flex so that the         extend outwardly at an angle of about 60° from the central
relatively short straight portions 16 or 19 move outwardly 20 portion 10.
whereby the passages 13 or 14 leading to the circular areas          The above measurements are currently preferred for
21 or 22 can be enlarged to the normal diameter of the            indoor Christmas tree use, however, it should be realized
circular areas 21 or 22. This allows passage of a Christmas       that the device of the invention could be made in various
tree branch into the circular area 21 or 22. The material must    sizes and, particularly, could be made in a larger size for use
                                                                  with large outdoor trees whose branches are generally larger
also be such that it will return to its original configuration 25 than  indoor Christmas trees.
after such flexing so that the arcuate portions 15 or 18 will
surround more than one-half of a received branch through             In use, a user selects the particular open loop portion 11
the extent of the arc and hold the device on the branch.          or 12 to be used with and receive a particular branch, such
Polyolefins such as polypropylene and polyethylene have           as loop 11 in FIGS. 2-5, and holds the other open loop
                                                                  portion,
been found to be satisfactory materials. Himont 1050 30 device. The         12 in FIGS. 2-5, as a handle to manipulate the
polypropylene works well.                                                      entrance to open loop portion 11, formed by end
                                                                  portion 17 leading to passage 13 is positioned adjacent a
   Each of the open loop portion 11 and 12 will preferably        selected branch 25. If the device is being used to secure a
be of different size, i.e., the radius of each of the arcuate     wire 26 of a decorative light set in one of the securement
portions 15 and 18 will be different, whereby a larger loop       arrangements of the invention, the wire 26 is placed over the
can be used for a larger branch and a smaller loop can be 35 branch as shown in FIG. 2 and the entrance to open loop
used for a smaller branch. However, the loops could be of         portion 11 is positioned at the intersection of the branch and
Substantially equal size if desired for particular applications.  wire. The device is pulled against the branch in the direction
   As can be seen in FIG. 1, the transition 23 along passage      of arrow 27. The loop will flex to enlarge passage 13 so that
13 from end portion 17 to relatively short straight portion 16    branch 25 will pass through passage 13 as the device is
is smoothly radiused as is the transition 24 from arcuate 40 moved in the direction of the arrow 27 and pass into circular
portion 15 to relatively short straight portion 16. The radius area 21. Open loop portion 11 will close around branch 25
of curvature for transition 23 is relatively large compared to         to secure the device to the branch as shown in FIG. 3. Wire
the radius of curvature for transition 24. It is presently           26 is then held in place on branch 25 as shown in FIG. 3.
preferred that the radius of transition 23 be about double the       With the current arrangement of the end portion 17 and
radius of transition 24. The result of this difference is that it 45 transition 23 therefrom to relatively short straight portion
is easier for a branch to cam passage 13 open so the branch          16, the device slips easily onto branch 25. With the described
can move into circular area 21 than it is for a branch in            arrangement of the transition 24 from the arcuate portion 15
circular area 21 to cam passage 13 open so that it can move          to relative short straight portion 16, it is difficult to slide the
out of circular 21. This is desirable so that it is easy to pull     device from branch 25. A branch 25 does not have to
the device over a branch to thereby secure the device to a 50 completely fill circular area 21 for the device to be secured
branch, but so that it is difficult, when once secured, for the      thereto. The branch 25 merely need be larger than passage
branch to come out of the device. This tends to prevent              13 so that it does not easily pass back through the passage
unwanted release of the device from the branch. It is                to release the device. Thus, the device will clamp a wire to
preferred that if a tangent be drawn to the midpoint of the          the branch and hold it in position and will stay on the branch
transition, that for transition 23, it intersects the central 55 even when loose about the branch.
portion 10 at an angle of between 30° and 45° and that for            With the device of the invention secured to branch 25 as
transition 24 it intersect the central portion 10 at an angle of shown in FIG. 3, open loop portion 12 is available to receive
between 60° and 80°. The transitions for the smaller open          and hang an ornament 28. Alternately, light string wire 26,
loop portion 12 will preferably be substantially the same as       rather than being held in place over branch 25 by open loop
for the larger open loop portion 11.                            60 portion 11 aroundbranch 25, could be positioned in and held
   For general indoor Christmas tree use, it is preferred that     in place by open loop portion 12. Tinsel and other garlands
the clamping device of the invention be as unobtrusive or          could be secured and held to branch 25 in the same manner
unnoticeable as possible. It is therefore preferred that the       as wire 26. Further, if a light wire, garland, ornament, or
device be sized so that it fits within and does not extend         other item is to be supported in position at a greater distance
beyond the needles extending from an average fir tree 65 below branch 25, one or more additional devices could be
branch. It has been determined that generally an overall           used, one hung from the other end-to-end, to support such
device length of about one and one-quarter inch meets this         item at any desired distance from the branch.
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  When it is desired to remove the device from the branch             an elongate, substantially straight central portion having
25, a user could, using the entrance to passage 13 formed by             opposite ends;
end portion 17, flex open loop portion 11 to open passage 13          a first arcuate portion extending in a direction from one
to allow the device to be removed from branch 25. A                      end of the central portion through an arc of at least
preferred method of removal, because it is generally easier,             approximately 270° to a first arcuate portion end;
is to grasp the device and twist it as shown by arrow 30 in           a first relatively short straight portion extending from the
FIG. 4 to flex open loop portion 11 and straight central                 first arcuate portion end toward the opposite end of the
portion 10 so that the end of the loop formed by relatively              substantially straight central portion, said first rela
short straight portion 16 and end portion 17 are rotated 10              tively short straight portion being substantially parallel
approximately 90° from their original positions to thereby               with said substantially straight central portion and
open passage 13 as shown in FIG. 4, and while in that                    having a first relatively short portion end toward said
                                                                         opposite end;
position, the device is moved upwardly in the direction of            a first end portion extending from the first relatively short
arrow 31 and removed from the branch 25. After removal,                  portion end at an angle outwardly away from the
the material returns to its original configuration and the 15            central portion;
removed device is shown in FIG. 5.                                    a second arcuate portion extending from the opposite end
  While it is preferred that relatively short straight portions          of the central portion in a direction opposite to the
16 and 19 extend parallel to central portion 10, this is not             direction of the first arcuate portion through an arc of
necessary and in some instances, particularly with the                  at least approximately 270 to a second arcuate portion
smaller loop, warpage during cooling of the device after 20             end;
molding may result in portion 19 extending at an angle to             a second relatively short straight portion extending from
central relatively short straight portion 10.                           the second arcuate portion end toward the one end of
   While it is preferred that the branch on which the device            the substantially straight central portion, said second
is secured fits within the space normally formed by the 25              relatively short straight portion being substantially par
arcuate portion, with the materials used and the configura              allel with said substantially straight central portion and
tion of the device as shown, even if the branch is somewhat             having a second relatively short portion end toward
bigger than the opening normally formed by the arcuate                   said one end; and
portion, the device will flex and effectively clamp and hold          a second end portion extending from the second relatively
the branch.                                                30
                                                                         short portion end at an angle outwardly away from the
  Whereas this invention is here illustrated and described               central portion;
with reference an embodiment thereof presently contem                 all portions of said device being unitarily formed of a
plated as the best mode of carrying out such invention in                flexible, normally shape-retaining material to allow
actual practice, it is to be understood that various changes             said first arcuate portion to bend to allow a tree branch
may be made in adapting the invention to different embodi 35             to pass between the central portion and first relatively
                                                                         short straight portion to be received within a space
ments without departing from the broader inventive con                   within the first arcuate portion and to allow said first
cepts disclosed herein and comprehended by the claims that               arcuate portion to be twisted sufficiently when desired
follow.                                                                  to allow escape of a received tree branch from the space
   We claim:                                                   40        within the first arcuate portion.
   1. A device for clamping the wires of a string of Christmas         6. A device according to claim 5, wherein the first and
tree lights to Christmas tree branches and at the same time         second relatively short straight portions are spaced from the
providing for attachment of a tree decoration, comprising a         central portion to provide an opening therebetween.
wholly integral length of flexible but normally shape-retain           7. A device according to claim 5, wherein the flexible
ing material that is doubled back on itself from opposite ends 45 material allows the second arcuate portion to bend to allow
thereof at opposite sides of a diagonally oriented, substan         a tree branch to pass between the central portion and the
tially central part of said length to provide oppositely            second relatively short straight portion to be received within
directed, open loop clamping portions whose openings are at         a space within the second arcuate portion and to allow the
respective opposite sides of but at said central part of said 50 second arcuate portion to be twisted sufficiently when
length, said openings formed by relatively short straight           desired to allow escape of a received tree branch from the
portions substantially parallel to the central part of said         space within the second arcuate portion.
length, whereby either of said clamping loops may be                   8. A device according to claim 5, wherein each arcuate
selected for clamping of a wire of a string of Christmas tree       portion extends at a constant radius along its length.
lights to a branch of the Christmas tree, leaving the other free 55 9. A device according to claim 8, wherein the first arcuate
for receiving a Christmas tree decoration.                          portion has a first radius and the second arcuate portion has
   2. A device according to claim 1, wherein the flexible,          a second radius, and wherein the first and second radii are
normally shape-retaining material is a polyolefin.                  different, whereby the space within one arcuate portion is
   3. A device according to claim 2, wherein the polyolefin 60 larger than the space within the other arcuate portion so that
is polypropylene.                                                   larger branches may be received within the larger space.
   4. A device according to claim 1, wherein the clamping              10. A device according to claim 5, including a smooth
loops are of different sizes so that selection of the clamping      arcuate transition of substantially constant radius from the
loop is based upon the size of the branch to which the wire         first end portion to the first relatively short portion and a
is to be clamped.                                                65 smooth arcuate transition of substantially constant radius
   5. A device for securing the wire of a decorative light          from the first arcuate portion to the first relatively short
string or an ornament to a Christmas tree comprising:               portion, wherein the radius of the transition from the first
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end portion to the first relatively short portion is larger than    second end portion to the second relatively short portion is
the radius of the transition from the first arcuate portion to      larger than the radius of the transition from the second
the first relatively short portion, whereby it is easier to slide   arcuate portion to the second relatively short portion,
the device onto a branch than it is to slide the device off of      whereby it is easier to slide the device onto a branch than it
a branch.                                                           is to slide the device off of a branch.
  11. A device according to claim 10, wherein the larger              13. A device according to claim 12, wherein the larger
radius is about twice the smaller radius.                           radius is about twice the smaller radius.
  12. A device according to claim 10, including a smooth          14. A device according to claim 5, wherein the flexible,
arcuate transition of substantially constant radius from the 10 normally shape-retaining material is a polyolefin.
second end portion to the second relatively short portion and          15. device according to claim 14, wherein the polyolefin
a smooth arcuate transition of substantially constant radius        is polypropylene.
from the second arcuate portion to the second relatively
short portion, wherein the radius of the transition from the
